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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on May 3, 2018

UNITE]) STATES OF AMERICA ': CRIM]NAL NO.
v. : GRAND JURY ORIGINAL
])URRELL VERDEZ SMITH`, ` : VIOLATION:
: 18 U.S.C. § 922(g)(1)
Defendant. : (Unlaw`ful Possession of a Firearm and

Ammunition by a Person Convicted of a
. Crime Punishable by I`mprisonment for a
: Term E;Iceeding One Year)

 

I N D I C T M E N T
The Grand Jui'y charges that:
COUNT ONE
Qn or abo_ut October 31, 2018, Within the District of Columbia, DURRELL VERDEZ
SMITH, having been convicted of a crime punishable by imprisonment for a term exceeding one
_year, in the Superior Court for the District of Columbia, Criminal Case No. 2012-€1=`2-008054, did
unlawfully and knowingly receive and possess a firearm and ammunition, which had been
possessed, shipped and transported in and affecting interstate and foreign commerce. b

(Unlawful Possession of a Firearm and Ammunition by a Person Convicted of a Crilne
Punishable by Imprisonment for a Term Exceeding One Year, in violation of Title 18,

United States Code, Section 922(g)(1))

A TRUE BILL:

FOREPERSON.
ca1/woo I/_ . in / ML-r¢r
Attorney of the United States in -
and for the District of Colurnbia.

